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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                                   Judge William J. Martínez

  Civil Action No. 12-cv-02002-WJM-CBS

  STEVE N. BURTON,

           Plaintiff,

  v.

  UNITED STATES OF AMERICA,

           Defendant.


                                        FINAL JUDGMENT


           Pursuant to and in accordance with Fed. R. Civ. P. 58(a) and the Orders entered

  during the pendency of this case, the following FINAL JUDGMENT is hereby entered.

           I.      IT IS ORDERED that pursuant to the Order Granting Defendant’s Motion

  for Dismissal for Lack of Subject Matter Jurisdiction, entered by the Honorable William

  J. Martínez, United States District Judge, on June 18, 2013,

           IT IS FURTHER ORDERED that Defendant’s Motion to Dismiss (ECF No. 17) is

  GRANTED, and the claims brought by Plaintiff pursuant to the Federal Tort Claims Act

  are hereby DISMISSED pursuant to Rule 12(b)(1) for lack of jurisdiction.

           II.     Pursuant to the Court’s Order of July 8, 2013, it is

           ORDERED that the Parties’ Stipulated Motion is GRANTED. The Defendants

  Charles Schoephoerster, P.A., Keith Baker, M.D., and Calvin Polland, D.O., are hereby

  DISMISSED WITH PREJUDICE. All parties shall bear their own attorney’s fees and

  costs.
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        Dated at Denver, Colorado, this   9th       day of July 2013.

                                                BY THE COURT:

                                                JEFFREY P. COLWELL, CLERK

                                                By: s/ Edward P. Butler
                                                Edward P. Butler, Deputy Clerk
